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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
ARTESIA MCMILLAN,                                                      :
                                                                       :
                                    Plaintiff,                         :     20-CV-4159 (JMF)
                                                                       :
                  -v-                                                  :          ORDER
                                                                       :
EXPRESS, LLC,                                                          :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        In light of the COVID-19 situation, the Court will not hold the upcoming conference in
this case in person. Counsel should submit their proposed case management plan and joint letter
by the Thursday prior to the conference, as directed in the Court’s earlier Scheduling Order. In
their joint letter, the parties should also indicate whether they can do without a conference
altogether. If so, the Court may enter a case management plan and scheduling order and the
parties need not appear. If not, the Court will hold the initial conference by telephone, albeit
perhaps at a different time. To that end, counsel should indicate in their joint letter dates and
times during the week of the conference that they would be available for a telephone conference.
In either case, counsel should review and comply with the Court’s Emergency Individual Rules
and Practices in Light of COVID-19, available at https://nysd.uscourts.gov/hon-jesse-m-furman.

        SO ORDERED.

Dated: November 9, 2020                                    __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
